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 Attorneys for Defendant



                            UNITED STATES DISTRICT COURT

                                    DISTRICT OF OREGON

                                       Portland Division


 JEFFREY ROSS GAUTHIER and CLUB                                           Case No. 3:15-cv-1130-SB
 MYSTIC, LLC,

                    Plaintiffs,                      JUDGMENT OF DISMISSAL WITH
                                                     PREJUDICE
        v.

 CATLIN SPECIALTY INSURANCE
 COMPANY,

                    Defendant.


       Based upon the parties’ Settlement Notice and Stipulation of Dismissal filed herein, this

case is dismissed with prejudice and without costs to any party.

       DATED:       March 1, 2016



                                              s/ Stacie Beckerman
                                             HONORABLE STACIE BECKERMAN
                                             U.S. DISTRICT COURT JUDGE

                                                                             MARTIN, BISCHOFF, TEMPLETON,
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